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[D11fd] [Ch 11 Final Decree]




                                        ORDERED.
Dated: December 3, 2020




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                   Case No. 3:19−bk−03409−JAF
                                                                         Chapter 11

Roberts Property & Holdings, LLC




________Debtor*________/

                                                FINAL DECREE
  THIS CASE came on for consideration of the Debtor's motion for entry of a final decree (the "Motion").
The Court finds that the Debtor's confirmed plan of reorganization has been substantially consummated.

   Accordingly it is

   ORDERED:

   1. The Motion is granted and the case is closed.

   2. All motions/objections/applications that have not been resolved are denied as moot.

   3. Pursuant to Local Rule 9070(g), the Clerk shall, without further notice, dispose of any exhibits in this
case or any related adversary proceedings unless they are reclaimed by the appropriate party within 30 days.

The Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
